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         IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                      CENTRAL DIVISION


    UNITED STATES OF AMERICA,                             MEMORANDUM DECISION
                                                              AND ORDER
                  Plaintiff,
                                                         Case No. 2:11-cr-501-DN-PMW
    v.

    JEREMY DAVID JOHNSON, et al.,                       Chief District Judge David Nuffer

                  Defendants.                           Magistrate Judge Paul M. Warner


          Chief District Judge David Nuffer referred this case to Magistrate Judge Paul M. Warner

pursuant to 28 U.S.C. § 636(b)(1)(A). 1 Before the court is Loyd Johnston’s (“Defendant”)

motion to compel immediate production of discovery from the United States of America

(“Government”). 2

                                  RELEVANT BACKGROUND

          Previously, the Federal Trade Commission (“FTC”) conducted an investigation of several

individuals, including Defendant. Based on that investigation, the FTC filed a civil suit in the

District of Nevada against multiple individuals, including Defendant, in December 2010 (“FTC

Case”).

          According to the Government, after learning of the FTC Case, the Government initiated

an investigation to determine if any of the defendants in the FTC Case had committed violations


1
    See docket no. 136.
2
    See docket no. 412.
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of federal criminal law. Following that investigation, on June 15, 2011, the Government filed a

one-count indictment in the instant case against Jeremy David Johnson and iWorks. 3 Later, on

March 6, 2013, a superseding indictment was filed against the original defendants, as well as

several other individuals, including Defendant. 4 A second superseding indictment was filed on

December 5, 2013, but that second superseding indictment made only minor corrections to the

first superseding indictment and did not change the substance of the first superseding

indictment. 5

                                             ANALYSIS

          In his motion, Defendant requests production of three categories of information. First,

Defendant requests that the Government immediately disclose all Brady material. See Brady v.

Maryland, 373 U.S. 83 (1963). Second, Defendant requests that the Government produce any

oral, written, or recorded statements of Defendant and any written documents containing the

substance of any of Defendant’s oral statements. Finally, Defendant requests that the

Government produce all information and communications of any kind shared between the FTC

and its agents and the Government and its agents with regard to the instant case or the FTC Case.

The court will address those categories in turn.

                                         I. Brady Material

          As noted above, Defendant requests that the Government immediately produce all Brady

materials in its possession. Pursuant to Brady, the Government is required to disclose all

3
    See docket no. 2.
4
    See docket no. 211.
5
    See docket no. 341.

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evidence to Defendant that is favorable to Defendant’s case. See id. at 87. That disclosure

requirement imposes a duty on the Government “to learn of any favorable evidence known to the

others acting on the [G]overnment’s behalf in the case, including the police.” Kyles v. Whitley,

514 U.S. 419, 437 (1995). As such, and as admitted by the Government, information or evidence

in possession of the FTC is within the Government’s knowledge for purposes of Brady. See id.

However, as noted by the Government, if Defendant could have obtained exculpatory evidence

using reasonable diligence in a civil, administrative, or parallel proceeding, or by other means,

the Government will not be held responsible for failing to provide the same evidence during

discovery in the criminal case. See United States v. Kimoto, 588 F.3d 464, 492-93 (7th Cir.

2009); United States v. Boyd, 833 F. Supp. 1277, 1354 (N.D. Ill. 1993), aff’d, 55 F.3d 239 (7th

Cir. 1995).

        In this case, the Government has made repeated representations in open court that it has

produced all Brady materials in its possession to Defendant and that it will continue to

supplement that production if it receives additional Brady materials. The court believes those

assertions were made in good faith and, absent any evidence to the contrary, accepts them as

true.

        Although not explicitly stated in this portion of Defendant’s motion, it appears that

Defendant also believes that the Government should produce any information from the FTC

Case that could be considered Brady material in the criminal case. It is undisputed that

Defendant is a party to the FTC Case and, as such, has had access to the discovery in that case.

As noted above, if Defendant can obtain any Brady material in the FTC Case through reasonable

diligence, the Government has no obligation to produce them to Defendant in the criminal case.


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See Kimoto, 588 F.3d 464 at 492-93; Boyd, 833 F. Supp. at 1354. That is precisely the situation

presented here. Given that he is a party to and has access to discovery in the FTC Case,

Defendant can easily obtain any potential Brady material through the exercise of reasonable

diligence in that case.

       For those reasons, this portion of Defendant’s motion is denied.

                                   II. Defendant’s Statements

       In this portion of his motion, Defendant requests that the Government immediately

produce the substance of any statements made by Defendant during the criminal investigation in

this case, including recordings or notes of such statements, pursuant to Brady and rule

16(a)(1)(A)-(B) of the Federal Rules of Criminal Procedure. See Fed. R. Crim. P. 16(a)(1)(A)-

(B). Defendant also appears to request that the Government immediately produce the substance

of any statements made by Defendant during the investigation in the FTC Case, including

recordings or notes of such statements, pursuant to the same authorities.

       In response, the Government contends that it has produced all statements made by

Defendant pursuant to formal discovery disclosures in this case. The Government points to its

production of Memoranda of Interviews (“MOIs”) that memorialized the interviews of

Defendant conducted by Internal Revenue Service agents in the investigation in this case. The

Government also notes that there are no recordings of any of Defendant’s interviews in this case.

With respect to any of Defendant’s statements made in the FTC Case, the Government asserts

that it has no record of any such statements.

       The court concludes that the Government’s production of the MOIs is sufficient to fulfill

its duties, at this time, with respect to Defendant’s statements under Brady and rule 16(a)(1)(A)-


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(B). As for Defendant’s request for immediate disclosure of recordings or notes of any of

Defendant’s statements, the court concludes that said request is premature. While the court

encourages the Government to produce any such recordings or notes, to the extent they exist, at

the earliest possible time, the court cannot require the Government to immediately disclose that

information. See, e.g., Browning v. Trammell, 717 F.3d 1092, 1105 (10th Cir. 2013) (providing

that Brady material need only be disclosed soon enough to give the defendant an opportunity to

use it at trial effectively).

        With respect to any of Defendant’s statements made in the FTC Case, the court concludes

that the Government is not required to disclose those statements under Brady and rule

16(a)(1)(A)-(B). As noted above, given that Defendant is a party to and has access to discovery

in the FTC Case, Defendant can easily obtain any of the statements he made in that case through

the exercise of reasonable diligence. See Kimoto, 588 F.3d 464 at 492-93; Boyd, 833 F. Supp. at

1354.

        For these reasons, this portion of Defendant’s motion is denied.

   III. Communications and Information Shared Between the FTC and the Government

        In the final portion of his motion, Defendant requests that the Government produce all

information and communications of any kind shared between the FTC and its agents and the

Government and its agents with regard to the instant case or the FTC Case. Defendant contends

that the information and communications are required to be disclosed under Brady because they

may be relevant to any pretrial motions to dismiss or motions to suppress based on Constitutional

grounds. With respect to the potential Constitutional grounds for any such motions, Defendant




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argues that the concurrent investigations taking place in the FTC Case and this case raise Fifth

Amendment Due Process issues.

        Courts have recognized that concurrent civil and criminal investigations can raise Fifth

Amendment due process issues. See, e.g., United States v. Kordel, 397 U.S. 1, 11-12 (1970);

United States v. Stringer, 521 F.3d 1189, 1195-96 (9th Cir. 2008). However, as noted in Stringer,

“[t]he Supreme Court has held that the [G]overnment may conduct parallel civil and criminal

investigations without violating the due process clause, so long as it does not act in bad faith.”

Stringer, 521 F.3d at 1195 (citing Kordel, 397 U.S. at 11).

        In response to Defendant’s argument, the Government maintains that there has been no

such showing of bad faith concerning its actions in this case and the FTC case. In support of that

argument, the Government has submitted the sworn declarations of two agents indicating that

there has not been any request or direction from the Government to the attorneys prosecuting the

FTC Case to obtain any evidence or conduct any investigation for purposes of pursuing the

investigation in this case.

        The court agrees with the Government’s argument and accepts in good faith the assertions

of contained in the sworn affidavits of the above-referenced agents. Defendant’s arguments

about any potential bad faith on behalf of the Government in conducting the parallel civil and

criminal proceedings are speculative and conclusory in nature. Put simply, Defendant has not

pointed to any conduct any conduct on behalf of the Government that would demonstrate such

bad faith. Without such a showing, the court is unwilling to grant Defendant’s request for all

information and communications of any kind shared between the FTC and its agents and the




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Government and its agents with regard to the instant case or the FTC Case. Accordingly, this

portion of Defendant’s motion is denied.

                                CONCLUSION AND ORDER

         Based on the foregoing, Defendant’s motion to compel immediate production of

discovery from the Government 6 is DENIED.

         IT IS SO ORDERED.

         DATED this 22nd day of January, 2015.

                                            BY THE COURT:




                                            PAUL M. WARNER
                                            United States Magistrate Judge




6
    See docket no. 412.

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